             Case 2:10-cr-00257-JAM Document 30 Filed 01/06/11 Page 1 of 2


 1   LAW OFFICES OF JAMES E. BLATT
     9000 Sunset Boulevard
 2   Suite 704
     Hollywood, California 90069
 3   Telephone: (310)385-8066
     Facsimile: (310)385-5932
 4
     James E. Blatt, Esq. (SBN 56571)
 5   j.blatt@jamesblatt.com
     Michael G. Raab, Esq. (SBN 176112)
 6   m.raab@jamesblatt.com
 7   Attorneys for Defendants,
     GALIOM MANSOUR and SOUTH BAY WHOLESALE, INC.
 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,
12                                           NO. CR. S-10-257 FCD

13                      Plaintiff,
                                             STIPULATION AND ORDER CONTINUING
14     v.                                    STATUS CONFERENCE

15   GALIOM MANSOUR,
     NAEIM HANNO, and
16   SOUTH BAY WHOLESALE, INC.,
                                             DATE:     January 10, 2011
17                       Defendant.          TIME:     10:00am
                                             COURT:    Courtroom 2
18
19          IT IS HEREBY stipulated between the United States of America,
20   through its undersigned counsel, Special Assistant U.S. Attorney
21   Peter Williams, and defendants Galiom Mansour and South Bay
22   Wholesale, Inc., through their undersigned counsel Michael G. Raab,
23   and defendant Naeim Hanno, through his undersigned counsel Mark J.
24   Reichel, that the status conference presently set for January 10,
25   2011, be continued to February 3, 2011, at 10:00 a.m., before the
26   Honorable Kimberly J. Mueller in Courtroom 3, thus vacating the
27   presently set status conference.
28          The parties stipulate and agree that the continuance is

                                              1
           Case 2:10-cr-00257-JAM Document 30 Filed 01/06/11 Page 2 of 2


 1   necessary to permit defense counsel to review discovery provided by
 2   the government numbering 13,302 pages.        The parties also desire to
 3   explore an early resolution of this prosecution.
 4        The parties further stipulate and agree that this is a complex
 5   case within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) and that the
 6   requested continuance is necessary to permit defense counsel
 7   reasonable time necessary for effective preparation, taking into
 8   account the exercise of due diligence, within the meaning of 18
 9   U.S.C. § 3161(h)(7)(B)(iv) and that the ends of justice served by
10   granting this continuance therefore outweigh the best interests of
11   the public and the defendants in a speedy trial. 18 U.S.C. §
12   3161(h)(7)(A).
13
14   Dated: January 6, 2011                /s/ Peter Williams
                                           PETER WILLIAMS
15                                         Special Assistant U.S. Attorney
16
17   Dated: January 6, 2011                /s/ Michael G. Raab
                                           MICHAEL G. RAAB
18                                         Attorney for Defendants Galiom
                                           Mansour and South Bay Wholesale
19
20
     Dated: January 6, 2011                /s/ Mark J. Reichel
21                                         MARK J. REICHEL
                                           Attorney for Defendant Naeim Hanno
22
23
                                   ORDER
24
     IT IS SO ORDERED.
25
26   Dated: January 6, 2011             _______________________________________
27                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE
28

                                            2
